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September 18, 2024                                                                      F l E fD
Class Action Clerk
United States District Court for the Northern District of Californi a
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450 Golden Gate Avenue
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San Francisco, CA 941023489
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                                                                                                     TOF CALIFORNIA


Dear Class Action Clerk,


I am writing to object to the settlement in Katz-Lacabe et al v. Oracle America, Inc. (case number
3 :22-cv-04 792-RS) .

Per the agreement, I am not included as a class member since I have resided outside of the United
States during the relevant period . I believe that I am a Settlement Class Member as I have suffered
the violations alleged in the lawsuit because of my previous residence in the United States and
continued connection with digital profiles established whilst I resided there or whilst conducting my
affairs from abroad using my U.S. profile. Specifically, I object for the following reasons :

1. The dates of residency in the United States to be eligible for the class should be expanded.
Many of my digital accounts and data were established whilst I was living in the United States prior to
the 2018-2024 period prescribed in the Settlement Agreement. My digital dossier continues to be tied
to my period of residence in the United States rather than my new residence abroad .

2. Residency status should not be the sole test for determining eligibility for the class. The
data that was collected and sold is still relevant personal data regardless of my residential status.
The United States is my country of citizenship and domicile of origin. I have maintained a mailing
address and strong ties to the United States since moving abroad in 2009. Some of my digital activity
has been conducted while visiting the United States, in keeping up my relationships with family
residing there or conducting my personal business.

My full name is Jeanette Cecilia Voss and my current residence is at:
81 Hayes Road
Bromley
BR2 9AE
Great Britain
My email address is jeanetteinlondon @gmail.com and phone number is +44 790 418 8743

I do not intend to appear nor be represented at the Final Approval Hearing . I do not have counsel.

Please accept my objections and am~~d th~ Settlement Agreement accordingly so that I am included
as a Settlement Class Member.

Sincerely,



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81 Hayes Road
Bromley
BR29AE
Great Britain
